Case 23-10048-nmc

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United States Bankruptcy Court for the:
District of Nevada

Case number (if known):

tate)

Chapter 7

Official Form 205

‘Involuntary Petition Against a Non-Individual

Use this form to begin a bankruptcy case against a non-individual you allege to be a debtor subject to an involuntary case. If you want to begin
a case against an individual, use the Involuntary Petition Against an Individual (Official Form 105). Be as complete and accurate as possible. If

more space is needed, attach any additional sheets to this form. On the.top of any additional pages, write debtor’s name and case number (if

known).

Identify the Chapter of the Bankruptcy Code Under Which Petition Is Filed

4. Chapter of the
Bankruptcy Code

Es identify the Debtor

Check one:

Chapter 7
O Chapter 11

2. Debtor’s name

L) Check if this is an
amended filing

12/15

Advantage Capt Holdings - 1, LLC
p—

3. Other names you know
the debtor has used in
the last 8 years

Include any assumed
names, trade names, or
doing business as names.

4. Debtor’s federal
Employer Identification

Unknown

Number (EIN)
ee EIN
\
a" Principal place of business Mailing address, if different
5. Debtor’s address ,
5605 North MacArthur Blvd, Suite 1003 cio Resolute Management Services
Number Street Number Sireet
680 W Nye Lane Ste 201
P.O. Box
Irving ™ 75038 Carson City NV 89703
City State ZIP Code - City State ZIP Code
Location of principal assets, if different from
principal place of business
Dallas
County Number Street

State ZIP Code

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Advantage Capital Holdings - 1, LLC

Debtor Case number (if known)

Name

6. Debtor’s website (URL)

Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
LJ Partnership (excluding LLP)
CJ Other type of debtor. Specify:

7. Type of debtor

8. Type of debtor’s

Business Check one:
L} Health Care Business (as defined in 11 U.S.C. § 101(27A))
Q) Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
Q) Railroad (as defined in 11 U.S.C. § 101(44))
UY Stockbroker (as defined in 11 U.S.C. § 101(53A))
CJ Commodity Broker (as defined in 11 U.S.C. § 101(6))
LJ Clearing Bank (as defined in 11 U.S.C. § 781(3))
None of the types of business listed.
(J Unknown type of business.
9. To the best of your No
knowledge, are any
bankruptcy cases OQ Yes. Debtor Relationship
pending by or against eos .
any partner or affiliate District Date filed as Case number, if known
of this debtor? ° 5
Debtor : Relationship
District Date filed Case number, if known.
MM/DD/YYYY
Report About the Case
10. Venue Check one:

Over the last 180 days before the filing of this bankruptcy, the debtor had a domicile, principal place
of business, or principal assets in this district longer than in any other district.

DA bankruptcy case concerning debtor's affiliates, general partner, or partnership is pending in this district.

41. Allegations Each petitioner is eligible to file this petition under 11 U.S.C. § 303(b).
The debtor may be the subject of an involuntary case under 11 U.S.C. § 303(a).

At least one box must be checked:

The debtor is generally not paying its debts as they become due, unless they are the subject of a
bonfide dispute as to liability or amount.

CJ within 120 days before the filing of this petition, a custodian, other than a trustee, receiver, or an
agent appointed or authorized to take charge of less than substantially all of the property of the
debtor for the purpose of enforcing a lien against such property, was appointed or took possession.

12, Has there been a No

transfer of any claim
against the debtor by or () Yes: Attach all documents that evidence the transfer and any statements required under Bankruptcy

to any petitioner? Rule 1003(a).

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Advantage Capital Holdings -1, LC

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Dabtor. Case number:grkown),
Nama.
' 43, Each petitioner's claim Name ot petitioner Nature of sietitioner’s claim
The Michelle G. DeCoster Trust Business Promissory Note. $ 400,000.
‘The Lawrence DeCoster Trust Business Promissory Note g 100,000
Joseph John Mishawali, #TA181456 c/o Malinstar Trust Buisinéss Promissiry Note _150:000
Total of petitioners’ olaitns $350,000

if more space is nestled to list petitioners, attach additional sheets: Write the allegad tiebtor’s name and the case number, if known, at
* ne top of each: sheet. Following the format of this form, set ‘out the Ritornietion required i in Parts. 3 and 4. of the form for paint

statement under penalty ‘of perjiry set ‘out in Part 4 ofthe form, followed by each additional peritioner’s! jor representative's) signature,

diong with the signature of the petitioner's. attorney.

FREE eaves: tor nour

‘WARNING — Bankruptoy fraud is.a serious. ciime. Making a false statement in.corinection with a bankruptcy case can result in fines up to
$500,000 or imprisonment for up to. 20 years, orboth. 18U.S.C. §§ 152, 1341, 1819, and 3571.

Petitioners request that an ofder for relief be entered against the debtor under the chapter of 11 U.S.C. specified in this petition. ifa-
petitioning creditor is a.corporation, atiach the corporate ownership statement required by Bankruptcy Rule 1010(b}. Ifany petitioner is a
foreign representative appointed in-a foreign proceeding, attach a certified copy of the order of the court granting recognition.

. i have exainined the information in this document and have a reasonable belief that the information is true and correct.

Petitioriars. or Petitioners" Representative. -

Name-and mailing address of petitioner
The Micholle G..DeCester Trust .

Name

22565 Milner Street
Number Street

4084
ZIP Cade

*\. Bt Stair Shores Mi
. om : State
.
Name and mailing address of petitioner's representative, if any
Michelle G. DeCoster

Narhe

22565 Milner Street

Number Street

Gity Stale FIP Code

Signatiire of petitioner'or fepronnctitir, inctuding pepresenteianets tile

‘Chuistopher Kink, Esq,
Printed name.

Firma name, Fany

2029 Yankee Gfpper Drive

Number Street
Las Vegas _ NY 89117
Giy ee - ate SP Goae

* Contact phone (702) 217-8998 Erial_Cidinkiaw@qmailcom

Barrumber 6022

State NV

sin sgn "OG Noe 2027

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Official Form 205

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Debtor Advantage Capital Holdings - 1, LLC Case number (#kncun},
° Name ‘

Name and malling address of petitioner

The Lawrence DeCoster Tnist Christopher Klink, Esq.
: Name L Printed name

| 99565 Mitner Street
, Number Strest

Firm name, if any

: St. Clair Shores x ul 48084 3028 Yankee Clipper Drive

: City State ZIP Code Nuriber Sires
Las Vegas NV 89117
, Name and mailing address of petitloner’s representative, if any hy Sis AP ede
|S gurenveetelncior _ Gontact phone (702) 217-8998 Emait_Cklinklaw@gmall.cam
: i
i Name :
j B b 6022 }
| 22665 Miner Strest aroumner
: Number Street j
} State NV i
: St. Clair Shores Mil 48081 \
i City State ZIP Code I
t i fK * i
i | declare under penalty of perjury that the foregoing Is true and correct. fe . |
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of Li Us .
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4
} Signdture of petitioner or representative, including representative's title MM 1 DD /YYVYY

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Name and mailing address of petitioner

‘Joseph John Mishowskl, #7181456 clo Mainstar Trust Christopher Kink, Esq.

i Name : Printed name '
38476 Emerald Land South ;
i Firm name, if any i
t Number Street i
{ Westland : Mi 48185 3029 Yankee Clipper Drive
Gly State ZiP Code Number  Strest
; : Las Vegas NV 89117
} . ¥ }
Name and malling address of petitioner's representative, if any Clty : State 21P Code :
| Contact phone (702) 247-8988 Email! Cklinklaw@gmall.com

Name . : i
: , . ; . “ Bar number 6022

Number Streat

: Stata NV

i Giy State ZIP Code x \
: { declare under penalty of perjury that the foregoing is true and correct. . ‘ i
O .

Executed on oF a. AO J / x

i MMF DD TYYYY "Signature of attorney :

: oy Z s

 Ceenh WMufonshe : OL_06 2027

} : tL ' Date signed” Ol LOL .

‘ Sigfature of pattioner‘or representative, including representative's title . : WM /DD /YYYY .

‘ ¥ ;

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